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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

JOYCE GORDON,                    )
                                 )
      Plaintiff,                 )
                                 )
V.                               )                       CIVIL ACTION NO. SA-22-CA-660-FB
                                 )
U.S. BANK TRUST NATIONAL         )
ASSOCIATION AS TRUSTEE OF CMSI   )
REMIC 2007-09-REMIC PASS-THROUGH )
CERTIFICATES SERIES 2007-09; and )
CENLAR FSB,                      )
                                 )
      Defendants.                )

                                           JUDGMENT

       The Court considered the Judgment to be entered in this case. Pursuant to the Order Granting

Defendant’s Rule 12(b)(6) Motion to Dismiss signed this date,

       IT IS ORDERED, ADJUDGED and DECREED that Defendant’s Rule 12(b)(6) Motion to

Dismiss (docket no. 5) is GRANTED such plaintiff’s claims are DISMISSED WITH PREJUDICE

pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure.

       IT IS FINALLY ORDERED, ADJUDGED and DECREED that remaining motions pending

with the Court, if any, are Dismissed as Moot and this case is CLOSED.

       It is so ORDERED.

       SIGNED this 18th day of August, 2022.



                                       _________________________________________________
                                       FRED BIERY
                                       UNITED STATES DISTRICT JUDGE
